Case 09-61855-bem          Doc 165    Filed 08/12/19 Entered 08/12/19 11:00:00                Desc Main
                                     Document      Page 1 of 3




    IT IS ORDERED as set forth below:



    Date: August 12, 2019
                                                           _________________________________

                                                                    Barbara Ellis-Monro
                                                               U.S. Bankruptcy Court Judge


  ________________________________________________________________

                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


 IN RE:                                             :          CASE NO. 09-61855-BEM
                                                    :
 TODD ANTHONY SHAW,                                 :          CHAPTER 7
                                                    :
          Debtor.                                   :
                                                    :

                            ORDER SUSTAINING OBJECTION
                       TO CLAIM NO. 4-1 FILED BY KEENAN WILKINS

          On June 28, 2019, S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy estate of

 Todd Anthony Shaw (“Trustee”), filed an objection (the “Objection”) to Claim No. 4-1 (the

 “Claim”) filed by Keenan Wilkins (“Claimant”) and a notice of requirement of response and

 notice of hearing (the “Notice”) setting a hearing (the “Hearing”) on the Objection for August 6,

 2019 [Doc. No. 159]. Counsel for Trustee asserts that he served the Objection and Notice on all

 requisite parties in interest. [Doc. No. 159].

          In the Objection, Trustee requested that the Claim be disallowed in its entirety.




 13776836v1
Case 09-61855-bem         Doc 165     Filed 08/12/19 Entered 08/12/19 11:00:00          Desc Main
                                     Document      Page 2 of 3




         No party in interest filed a response to the Objection.

         Counsel for Trustee appeared at the calendar call for the Hearing. No creditor or other

 party interest appeared at the calendar call for the Hearing.

         The Court having considered the Objection and the entire record in this bankruptcy case

 and no parties in interest having filed or served a response to the Objection or appearing at the

 Hearing to oppose the relief requested in the Objection; and, for good cause shown, it is hereby

         ORDERED that the Objection is SUSTAINED: Claim No. 4-1 is disallowed in its

 entirety.

                                       [END OF DOCUMENT]

 Order prepared and presented by:

 ARNALL GOLDEN GREGORY LLP
 Attorneys for Trustee

 By:/s/ Michael J. Bargar
     Michael J. Bargar
     Georgia Bar No. 645709
 171 17th Street, N.W., Suite 2100
 Atlanta, Georgia 30363-1031
 Phone: (404) 873-7030/ Fax: (404) 873-7031
 michael.bargar@agg.com


 Identification of parties to be served:

 Martin P. Ochs
 Office of the United States Trustee
 362 Richard B. Russell Building
 75 Ted Turner Drive, SW
 Atlanta, GA 30303

 Todd Anthony Shaw
 1010 Forest Overlook Drive
 Atlanta, GA 30331




 13776836v1
Case 09-61855-bem      Doc 165      Filed 08/12/19 Entered 08/12/19 11:00:00   Desc Main
                                   Document      Page 3 of 3




 Montie Day
 Day Law Offices
 P. O. BOX 1525
 Williams, CA 95987

 S. Gregory Hays
 Hays Financial Consulting, LLC
 Suite 555
 2964 Peachtree Road NW
 Atlanta, GA 30305-2153

 Keenan Wilkins
 ART 278
 550 6th ST.
 Oakland, CA 94607

 Marjorie G. Mandanis
 Attorney at Law
 626 Jefferson, Suite 13
 Redwood City, CA 94063

 Michael J. Bargar
 Arnall Golden Gregory LLP
 171 17th Street, NW, Suite 2100
 Atlanta, GA 30363




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